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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                         CASE NO. 23-801010-CR-CANNON/REINHART

    UNITED STATES OF AMERICA,

                           v.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVIERA,

                           Defendants.
                                                       /

                                         MOTION TO DISMISS

            Defendant Waltine Nauta, by and through the undersigned counsel, and pursuant to Rule

   12 of the Federal Rules of Criminal Procedure, respectfully request this Court dismiss Counts 33,

   34, 35, 40, and 41 of the Superseding Indictment (July 27, 2023) (ECF No. 85), for failure to state

   an offense, or because as applied to Mr. Nauta the offenses charged are unconstitutionally vague

   in violation of the Due Process Clause of the Constitution, or, in the alternative, pursuant to the

   rule of lenity.

       I.      PROCEDURAL BACKGROUND

            Defendant Waltine Nauta is charged in eight counts of the July 27, 2023, Superseding

   Indictment, (ECF No. 85), to include: conspiracy to obstruct justice in violation of 18 U.S.C.

   § 1512(k) (Count 33); withholding a document or record in violation of 18 U.S.C. § 1512(b)(2)(A)

   (Count 34); corruptly concealing a document or record in violation of 18 U.S.C. § 1512(c)(1)

   (Count 35); concealing a document in a federal investigation in violation of 18 U.S.C.

   § 1519 (Count 36); engaging in a scheme to conceal in violation of 18 U.S.C. § 1001(a)(1) (Count

   37); making false statements and representations in violation of 18 U.S.C. § 1001(a)(2) (Count



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   39); altering, destroying mutilating, or concealing an object in violation of 18 U.S.C.

   § 1512(b)(2)(B) (Count 40); and corruptly altering, destroying, mutilating, or concealing a

   document, record or other object in violation of 18 U.S.C. § 1512(c)(1) (Count 41).

          A bottom, the charges stem from an alleged conspiracy to conceal boxes stored at former

   President Trump’s Mar-a-Lago club and residence from the government. In January 2021, at the

   end of President Trump’s Administration, hundreds of boxes containing a mixture of personal

   items and papers were moved from the White House to the Mar-a-Lago Club, President Trump’s

   residence. Mr. Nauta, who served as a valet to President Trump during his administration,

   explained that while he helped pack some boxes during his employment at the White House, the

   boxes he personally packed only contained personal and household items, including but not limited

   to, shoes, hats, shampoo and undergarments. Interview Tr. at 8:21-25, 40:23-25 (May 26, 2022)

   (USA-0082793); Grand Jury Tr. at 6:23 – 7:7-10, 19:19-14 (June 21, 2022) (USA-00809047). The

   boxes he packed were an extended version of the Bankers boxes. Grand Jury Tr. at 20:22-25 (June

   21, 2022) (USA-00809047). He did not personally pack any boxes with documents, Id. at 21:20-

   23, nor did he observe boxes of documents being packed during the packing process in January

   2021. Id. at 21: 24 – 22:1. Mr. Nauta further explained that he did not return to Mar-a-Lago until

   October of 2021. Id. at 29:23-25, 30:1-4. Some of the boxes during the packing process at the

   White House were labeled and some of them were just taken away by the movers. Id. at 23:14-

   17.

          Once the boxes arrived at Mal-a-Lago they were stored in various location including, the

   White and Gold Ballroom, business center, bathroom shower, and storage room. Superseding

   Indictment at 10-12 (July 27, 2023) (ECF No. 85). As described by Mr. Nauta, the boxes located

   outside of Pine Hall were white, brown, Xerox, and bankers’ boxes. Interview Tr. at 22:20-25




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   (May 26, 2022) (USA-0082793); Grand Jury Tr. at 45:9-15 (June 21, 2022) (USA-00809047).

   These similar bankers’ boxes were utilized at the White House by President Trump, Grand Jury Tr.

   at 13:1-18 (June 21, 2022) (USA-00809047), but Mr. Nauta only saw newspapers, ties, and

   personal effects in the bankers’ boxes at the White House. Id.at 13: 21-23, 14:4-9. Mr. Nauta

   believed those boxes were going to Mar-a-Lago, id. at 20:14-16, although he advised he did not

   help move boxes that were sent to Mal-a-Lago. Id. at 40:1-9. Mr. Nauta confirmed upon his arrival

   to Mal-a-Lago in October 2021, he observed some of the boxes that were previously packed at the

   White House in a storage room. Id. at 36: 4-10. However, he did not know who physically placed

   them there. Id. at 38:4-6. Mr. Nauta required permission to enter the storage room, which required

   a key. Id. at 38:18-19.

          Mr. Nauta first began working for President Trump as a valet in January 2017, id. at 7:7-

   10, until the first week of March 2021. Interview Tr. at 41:15-24 (May 26, 2022) (USA-0082793).

   Upon his return to DC, Mr. Nauta continued to work for the White House, Interview Tr. at 26:11-

   19 (May 26, 2022) (USA-0082793); Grand Jury Tr. at 26:11-19 (June 21, 2022) (USA-00809047),

   until his retirement from the Navy, after which he permanently joined President Trump’s staff

   beginning in August of 2021. Grand Jury Tr. at 28:17-21 (June 21, 2022) (USA-00809047). At

   that time, however, former President Trump was residing at his club in Bedminster, New Jersey,

   and President Trump and Mr. Nauta did not return to Mar-a-Lago again until October of 2021. Id.

   at 29:11-13.

          At various times, Mr. Nauta has acknowledged moving boxes. For example, on January

   17, 2022, Mr. Nauta told the FBI he and another employee moved approximately 15-17 boxes

   placed outside of Pine Hall, Interview Tr. at 19:2-3, 20:20-22 (May 26, 2022) (USA-0082793);

   Grand Jury Tr. at 45:16-18 (June 21, 2022) (USA-00809047), so they could be loaded onto a




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   vehicle stationed outside of the Mar-a-Lago Club and placed on a truck in route to the National

   Archives and Records Administration (NARA). Interview Tr. at 17:23-25, 18:12-15 (May 26,

   2022) (USA-0082793); Grand Jury Tr. at 45:4-8 (June 21, 2022) (USA-00809047). Mr. Nauta

   never opened the boxes collected from Pine Hall and was unaware of what documents, if any, each

   box contained. Interview Tr. at 21:19-21 (May 26, 2022) (USA-0082793). Mr. Nauta further

   explained that he never saw documents with classification markings at the Mal-a-Lago residence.

   Id. at 30:13-15.

            In pertinent part, the Superseding Indictment alleges that following of a grand jury

   subpoena for documents with classified markings, Trump Attorney 1 made arrangements to search

   boxes stored in a Storage Room at Mar-a-Lago on June 2, 2022. Superseding Indictment at 22 ¶57

   (July 27, 2023) (ECF No. 85). Thereafter, the indictment alleges, Mr. Nauta, at President Trump’s

   direction, moved “approximately 64 boxes from the Storage Room and brought them to [President

   Trump’s] residence.” Id. at 22-23 ¶59. Then, on June 2, 2022, prior to Trump Attorney 1’s arrival,

   the indictment alleges that Messrs. Nauta and De Oliveira moved approximately 30 boxes back

   from President Trump’s residence to the Storage Room. Id. at 24 ¶63. Thus, the indictment

   insinuates, when Trump Attorney 1 performed the June 2 search of the boxes for documents with

   classification markings, there were approximately 34 boxes missing from the Storage Room.

   Several months later, on August 8, 2022, the indictment alleges, “the FBI executed a court-

   authorized search warrant at the Mar-a-Lago Club” in which it seized 75 documents purportedly

   with classification markings from the Storage Room. Id. at 30 ¶90.

      II.      LEGAL STANDARD

            An indictment must be written as a “plain, concise, and definite written statement of the

   essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An indictment is

   insufficient unless it: “(1) presents the essential elements of the charged offense, (2) notifies the


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   accused of the charges to be defended against, and (3) enables the accused to rely upon a judgment

   under the indictment as a bar against double jeopardy for any subsequent prosecution for the same

   offense.” United States v. Steele, 178 F.3d 1230, 1233-34 (11th Cir. 1999) (internal quotation

   marks and citations omitted). See also United States v. Adkinson, 135 F.3d 1363, 1375 n.37 (stating

   that a valid indictment, “need do little more than track the language of the statute.”). Where an

   indictment fails to adequately apprise the defendant fully of the charged offense or offenses, such

   an indictment is defective for vagueness. See, e.g., United States v. Sharpe, 438 F.3d 1257, 1263

   (11th Cir. 2006).

             A statute is unconstitutional under the Fifth Amendment if the government uses it to,

   “tak[e] away someone’s life, liberty, or property under a criminal law so vague that it fails to give

   ordinary people fair notice of the conduct it punishes [] or so standardless that it invites arbitrary

   enforcement.” United States v. Tia Deyon Pugh, 2024 U.S. App. LEXIS 1193, at * 24 (11th Cir.

   Jan. 18, 2024) (quoting Johnson v. United States, 576 U.S. 135 S. Ct. 2551 (2015) (citing Kolender

   v. Lawson, 461 U.S. 352, 357-58 (1983)). “The touchstone is whether the statute, either standing

   alone or as construed, made it reasonably clear at the relevant time that the defendant’s conduct

   was criminal.” United States v. Lanier, 520 U.S. 259, 267 (1997). The void-for-vagueness doctrine

   protects against arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct. 1204,

   1212 (2018) (citing Kolender, 461 U.S. at 358).

      III.      ANALYSIS

             Five of the counts charged as against Mr. Nauta require the government to prove that he

   acted, “corruptly.” The relevant portions of 1512(b) require the government to prove that the

   defendant, “knowingly use[d] intimidation, threaten[ed], or corruptly persuade[d] another person,

   or attempt[ed] to do so, or engage[d] in misleading conduct toward another person, with intent to.

   . . (2) cause or induce any person to. . . (A) withhold testimony, or withhold a record, document,


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   or other object, from an official proceeding; [or] (B) alter, destroy, mutilate, or conceal an object

   with intent to impair the object’s integrity or availability for use in an official proceeding[.]” 18

   U.S.C. § 1512(b)(2)(A), (B). The relevant portions of 1512(c) required the government to prove

   the defendant, “corruptly. . . alter[ed], destroy[ed], mutilate[d], or conceal[ed] a record, or

   attempt[ed] to do so, with the intent to impair the object’s integrity or availability for use in an

   official proceeding; or (2) otherwise obstruct[ed], influence[d], or impede[d] any official

   proceeding, or attempt[ed] to do so[.]” 18 U.S.C. § 1512(c)(1), (2). Notably, all relevant counts

   require proof that the actions occurred, “corruptly.” And the charged 1512(k) conspiracy alleges

   as objects of the conspiracy violations of 1512(b)(2)(a), (b)(2)(b), and (c)(1).

          Because the indictment fails to allege that Mr. Nauta acted corruptly in any of the conduct

   as alleged in the indictment, Counts 33, 34, 35, 40, and 41 must be dismissed. Otherwise,

   “corruptly” as required under the applicable statutes and as applied to Mr. Nauta is void for

   vagueness. In the alternative, any charges requiring proof that Mr. Nauta acted “corruptly” should

   be dismissed under the rule of lenity.

              a. The Indictment Fails to Allege a Corrupt Actus Reus

          When applying “corruptly” pursuant to 18 U.S.C. § 1512 the D.C. Circuit has observed:

   “[prior case law] show that the type of proceeding and the nature of a defendant's conduct matter.

   In contexts where obstructive actions are not inherently corrupt, the requirement to act ‘corruptly’

   separates innocent from illegal behavior. . . The ‘corruptly’ element protects non-culpable conduct

   - such as a corporation following a document retention policy for routine reasons. . . or lobbyists

   and protestors exercising their rights to influence a congressional committee hearing. . . from being

   swept up by the statute's broad prohibition on ‘obstructing, influencing or impeding an official

   proceeding.’ Those cases confirm, moreover, that the requirement that a defendant act ‘corruptly’

   is met by establishing that the defendant acted with a corrupt purpose or via independently corrupt


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   means[.]” United States v. Robertson, 86 F.4th 355, 366-67 (D.C. Cir. 2023) (internal citations

   omitted), (rehearing en banc pending).

          The D.C. Circuit considered the definition of “corruptly” for charges under 18 U.S.C.

   § 1512 in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023). The D.C. Circuit determined

   that “corruptly” is a term which can have one of three meanings.

      (1) “First, the Supreme Court noted that the ‘natural meaning’ of ‘corruptly’ is ‘clear’ and
          that the word is ‘normally associated with wrongful, immoral, depraved, or evil’
          conduct.” United States v. Fischer, 64 F.4th 329, 339-40 (D.C. Cir. 2023) (citing Arthur
          Andersen LLP v. United States, 544 U.S. 696, 705 (2005).”

      (2) “Second, the government here asserts that the element of a ‘corrupt’ state of mind is
          satisfied when a defendant acts ‘with a corrupt purpose,’ through ‘independently corrupt
          means,’ or both.” Fischer, 64 F.4th at 340 (internal citations omitted) (citing United
          States v. North, 910 F.2d 843, 942-43 (D.C. Cir. 1990) (Silberman, J., concurring and
          dissenting in part).

      (3) “A third definition of the term ‘corruptly’ was endorsed by Justice Scalia in his partial
          concurrence in United States v. Aguilar, which examined the phrase ‘corruptly . . .
          endeavors to influence, obstruct or impede the due administration of justice’ under §
          1503.” Fischer, 64 F.4th at 340 (citing United States v. Aguilar, 515 U.S. 593, 616-17
          (1995) (Scalia, J., concurring and dissenting in part).

          After considering these possible constructions, the majority opinion refused to adopt any

   one particular possible meaning because, according to the court, no matter which definition is

   applied, “‘corrupt’ intent exists at least when an obstructive action is independently unlawful —

   i.e., an independently unlawful act is necessarily ‘wrongful’ and encompasses a perpetrator's use

   of ‘independently corrupt means’ or ‘an unlawful method.’” Fischer, 64 F.4th at 340. (citing

   Aguilar, 515 U.S. 593, 616-17 (1995) (Scalia, J., concurring and dissenting in part)) (also citing

   North, 910 F.2d at 942-43 (Silberman, J., concurring and dissenting in part)) (also citing United

   States v. Sandlin, 575 F. Supp. 3d 16, 33-34 (D.D.C. 2021)).

          In a concurrence, however, Judge Walker, insisted that defining corruptly was necessary.

   Judge Walker decided it required a defendant to “act with an intent to procure an unlawful benefit



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   either for himself or for some other person.” Fischer, 64 F.4th at 351-52 (Walker, J., concurring)

   (internal quotation marks omitted) (quoting Marinello v. United States, 138 S. Ct. 1101, 1114

   (2018) (Thomas, J., dissenting). Judge Walker went on to note that such an adoption was necessary

   in order to avoid an overly expansive application of the 1512, as applying such term would require

   a defendant to, “not only kn[ow] he was obtaining an unlawful benefit, it must also be his objective

   or purpose.” Fischer, 64 F.4th at 352 (Walker, J., concurring) (internal quotation marks omitted)

   (quoting Marinello, 138 S. Ct. at 1114 (Thomas, J., dissenting). 1

          Judge Katsas goes even further in seeking to narrow the scope of 1512 his dissent and

   makes another important observation about 1512: it traditionally required the defendant receive

   some tangible unlawful benefit, such as, “an unlawful financial, professional, or exculpatory

   advantage.” Fischer, 64 F.4th at 380-81 (Katsas, J., dissenting) (quoting Marinello, 138 S. Ct. at

   1105 (avoiding taxes); Aguilar, 515 U.S. at 595 (disclosing wiretap); North, 910 F.2d at 851

   (fabricating false testimony and destroying documents)). Ultimately, Judge Katsas noted that the

   defendants in Fischer should not have been found guilty under 1512 because they sought an

   intangible benefit through their actions, “having a preferred candidate remain President.” Fischer,

   64 F.4th at 381 (Katsas, J., dissenting).

          Here, the issue is simple: if either the concurrence of Judge Walker or the dissent of Judge

   Katsas from Fischer are persuasive to this Court, then the indictment’s allegations that Mr. Nauta



   1
     It has been posited that Judge Walker’s concurrence and his adoption of the specific definition
   of “corruptly” binds the D.C. Circuit. See United States v. Robertson, 86 F.4th 355, 387 (D.C.
   Cir. 2023) (Henderson, J., dissenting) (“The definition of ‘corruptly’ endorsed by Judge Walker
   binds us because that definition was necessary to create a holding. See Fischer, 64 F.4th at 362
   n.10 (Walker, J., concurring in part) . . . We must follow ‘those portions of the opinion necessary
   to that result by which we are bound.’ Util. Air Regul. Grp. v. EPA, 885 F.3d 714, 720 (D.C. Cir.
   2018) (quoting Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 67(1996)); see also Holding,
   Black's Law Dictionary (11th ed. 2019) (defining ‘holding’ as ‘[the] court's determination of a
   matter of law pivotal to its decision’).


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   acted, “corruptly,” must be dismissed. The government has not alleged that Mr. Nauta has acted

   in any way which would corruptly, tangibly benefit either Mr. Nauta or another. As noted herein,

   each count of the indictment merely vaguely and briefly describes the alleged actions taken by Mr.

   Nauta, and none of the Counts allege with specificity that his actions were taken in a way that

   provided him or anyone else a tangible benefit.

               b. The 1512 Counts in the Indictment Must Be Dismissed for Vagueness

           Even if not dismissed for failure to state a claim, the counts against Mr. Nauta alleging he

   acted, “corruptly” should be dismissed because as applied to him they are void for vagueness.

   Three judges on the D.C. Circuit failed to agree on the meaning of “corruptly” under 18 U.S.C.

   § 1512, and so it can hardly be expected, “it [would be] reasonably clear at the relevant time that

   the defendant’s conduct was criminal.” Lanier, 520 U.S. at 267. Ultimately, the charges as alleged

   against Mr. Nauta amount to claims that he moved boxes whose contents he was not aware of. He

   was not on notice that his actions could amount to a criminal prosecution, and the use of 1512 in

   this way is arbitrary.

               c. In the Alternative, The Rule of Lenity Precludes Mr. Nauta’s Prosecution

           The rule of lenity, “requires ambiguous criminal laws to be interpreted in favor of the

   defendants subjected to them.” United States v. Dawson, 64 F.4th 1227, 1239 (11th Cir. 2023)

   (quoting United States v. Santos, 553 U.S. 507, 514 (2008)). The rule of lenity, “applies only when,

   after consulting traditional canons of statutory interpretation, the court is left with an ambiguous

   statute.” Dawson, 64 F.4th at 1239. “To invoke the rule of lenity, the court must conclude that

   there is a grievous ambiguity or uncertainty in the statute.” United States v. Baldwin, 774 F.3d 711,

   733 (11th Cir. 2014) (internal quotation marks omitted) (quoting Muscarello v. United States, 524

   U.S. 125, 138-39 (1998)). The rule of lenity applies, “only when, after seizing everything the court

   can from which aid can be derived to determine the meaning of a statute, the court can no more


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   than guess as to what Congress intended.” Dawson, 64 F.4th at1239 (internal quotation marks

   omitted) (quoting Muscarello, 524 U.S. at 138-39 (quoting United States v. Wells, 519 U.S. 482,

   499 (1997))).

          As this an issue regarding the scope of a criminal statute, the Court should also consider

   the rule of lenity when applying the statute to Mr. Nauta. Federal courts “traditionally [have]

   exercised restraint in assessing the reach of a federal criminal statute.” United States v. Aguilar,

   515 U.S. 593, 600 (1995). “Under the rule of lenity, courts construe penal laws strictly and resolve

   ambiguities in favor of the defendant,” United States v. Miller, 589 F. Supp. 3d 60, 66 (D.D.C.

   2022) (quoting United States v. Nasir, 17 F.4th 459, 472 (3d Cir. 2021) (en banc) (Bibas, J.,

   concurring)), as long as such an application would not, “conflict with the implied or expressed

   intent of Congress[.]” Liparota v. United States, 471 U.S. 419, 427 (1985).

          Recently, the rule of lenity has been used by Judge Carl Nichols in the District of Columbia

   to determine that a defendant’s conduct did not fall within the scope of 1512(c)(2) because of the

   very vagueness of definitions in 1512 discussed in this filing, as well as the historical interpretation

   of the statute implying a significantly narrower scope intended by the legislature than how it was

   then being applied. See United States v. Miller, 589 F. Supp. 3d 60, 67 (D.D.C. 2022).

          Given that no matter how this Court determines to apply the term “corruptly” in the 1512

   Counts some level of ambiguity will exist, this Court should use the rule of lenity to resolve the

   ambiguity in Mr. Nauta’s favor and rule that he cannot be indicted using an ambiguous statute.

                                             CONCLUSION

          For the foregoing reasons, Mr. Nauta respectfully requests this Court dismiss Counts 33,

   34, 35, 40, and 41 of the Superseding Indictment (July 27, 2023) (ECF No. 85), for failure to

   state an offense, or because as applied to Mr. Nauta the offenses charged are unconstitutionally




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   vague in violation of the Due Process Clause of the Constitution, or, in the alternative, pursuant

   to the rule of lenity.

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    Dated: April 11, 2024               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 11, 2024, I electronically submitted the foregoing, via

   CM/ECF, to counsel of record.

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